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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

GREGORY NELSON,                                   :
              Plaintiff,                          :
                                                  :
                    v.                            :        Civil No. 5:22-cv-00228-JMG
                                                  :
BOLLMAN HAT FACTORY,                              :
                  Defendant.                      :
__________________________________________

                                          ORDER

      AND NOW, this 29th day of June, 2022, upon consideration of Plaintiff’s filing of a

Second Amended Complaint (ECF No. 9), it is hereby ORDERED that Defendant’s Motion to

Dismiss (ECF No. 8), is DISMISSED as moot.


                                                      BY THE COURT:


                                                      /s/ John M. Gallagher
                                                      JOHN M. GALLAGHER
                                                      United States District Court Judge


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